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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                         HON. STANLEY R. CHESLER


      v.                                   :      Cnn. No.     08-327 SFC?

ANDREW MEROLA, ET AL.                            ORDER



      This matter having been opened to the Court on the loint

appilcation of the United States of America and the defendants

 (through their respective counsel), for an order declaring this

matter to be a complex case pursuant to Title 18, United States

Code, Section 3161(h) (8) (8) (ii); and the Court having considered

the arguments of counsel; and the defendants being aware that.

absent such a finding they would have a right to be tried within

seventy days of their first appearance in this district in

connection with this matter, pursuant to 18 U.S.C. S 3161(c) (1);

and the charges being the result of a lengthy invest Lgaton and

the defendants needing sufficient time to review extensive

d!scovery and to investigate the charges and file motiorts n this

case; and Paul J. Fishman, United States Attorney for the

District of New Jersey (Ronald D. Wigler, Assistant U.S.

Attorney, appearing) having concurred in the assertion that thts

matter is complex as defined in the statute; and the Court havinq

found that an order granting a continuance of the proceedings ir:
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